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                IN THE UNITED STATES COURT OF APPEALS

                            FOR THE SIXTH CIRCUIT


UNITED STATES OF AMERICA,

      Plaintiff/Appellee,                           CASE NO.       23-4019

          vs.

PHILLIP DURACHINSKY,

      Defendant/Appellant.


                        THIRD STATUS REPORT

      Pursuant to this Court's order of June 12, 2024, Counsel for Appellant

Durachinsky provides this third status report. On September 7, 2024, Judge

Oliver of the Northern District of Ohio continued the planned competency

hearing, re-setting it for September 24, 2024. The purpose of this extension

was to allow the Government's expert to review Durachinsky's mental

evaluation provided by Dr. McConnell. At this time, undersigned counsel

requests that this Court continue to hold this matter in abeyance pending

that hearing.



                                  Respectfully Submitted,

                                  JOSEPH MEDICI
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                                    Federal Public Defender

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                           CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the foregoing was sent this 11th

day of September, 2024, by ECF filing, to the office of the Assistant

United States Attorney of record.

                                           /s/ Kevin Schad
                                          Kevin Schad
                                          Attorney for Appellant
